                                  Case 24-23623-PDR                    Doc 5         Filed 12/30/24                Page 1 of 3


Fill in this information to identify the case:
Debtor name Silver Airways LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                            Check if this is an
                                               FLORIDA
Case number (if known):         24-23623                                                                                                    amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Aerostar Airport          Neryann Rivera            airport rent and                                                                                          $844,280.18
Holdings, LLC                                       usage fees
P.O. Box 38085            Neryann.Rivera@
San Juan, PR              aerostarairports.co
00937-1085                m
                          787-289-7240
ATR Americas Inc.         Laetitia Favero     trade debt                                                                                                      $423,955.53
4355 N.W. 36 Street
Miami, FL 33166      laetitia.favero@atr-
                     aircraft.com
                     (645) 200-2224
Azorra Eagle 1 DAC Ron Bau                lease and                                                                                                         $4,465,417.41
1st Floor, 118 Lower                      supplement rent
Baggot Street        rbaur@azorra.com
Dublin 2, IE         281-686-2067
Broward County       Alexander J.         airport rent and                                                                                                  $1,070,985.71
Aviation Dept.       Williams             usage fees
Attn: Finance
Division             AJWilliams@browa
320 Terminal Drive   rd.org
Suite 200            (954) 359-7201
Fort Lauderdale, FL
33315
City of Tallahassee David Pollard         airport rent and                                                                                                    $317,135.52
Accounting                                usage fees
Services Division -  David.pollard@talg
A/R                  ov.com
c/o Box A-4, City    850-251-7536
Hall
300 S. Adams St.
Tallahassee, FL
32301
County of            Richard Strickland airport rent and                                                                                                      $387,414.62
Monroe-Key West                           usage fees
Int'l Airport        Strickland-richard
3491 S. Roosevelt    @mon
Blvd.                305-393-7742
Key West, FL 33040

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                  Case 24-23623-PDR                    Doc 5         Filed 12/30/24                Page 2 of 3



Debtor     Silver Airways LLC                                                                       Case number (if known)         24-23623
           Name

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                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Federal Aviation                                    taxes or fees                                                                                             $803,387.22
Administration
800 Independence          202-267-7211
Avenue, SW
Washington, DC
20591
Greater Orlando           Kathleen M.               airport rent and                                                                                        $1,018,805.65
Aviation Auth.            Sharman                   usage fees
1 Jeff Fuqua Blvd
Orlando, FL 32827         Kathleen.sharman
                          @goaa.org
                          407-825-2043
Hillsborough              Tony O’Brian              airport rent and                                                                                          $750,608.34
County Aviation                                     usage fees
Authority                 tobrian@tampaairp
PO Box 919730             ort.com
Orlando, FL               813-870-8789
32891-9730
Internal Revenue                                    taxes or fees                                                                                           $2,059,868.65
Service
Department of the         844-545-5640
Treasury
Internal Revenue
Service
Ogden, UT
84201-0009
Jetstream Aviation        Donald Matsuura           lease and                                                                                               $1,104,787.34
Holdings, LLC                                       supplement rent
2601 South                dmatsuura@jetstre
Bayshore Drive            amavcap.com
Miami, FL 33133           305-447-1920
Marsh USA, Inc.           Steve Hladczuk    insurance and                                                                                                     $417,386.23
P.O. Box 846015                             fees
Dallas, TX                Steven.m.hladczuk
75284-6015                @marsh.com
                          215-514-1994
Navblue Inc.              Filipe Silva      trade debt                                                                                                        $584,572.68
295 Hagey Blvd
Suite 200                 Filipe.silva@navblu
Waterloo ON N2L           e.aero
6R5, ON                   401-523-6975
Nordic Aviation           Tony Romano         lease and                                                                                                     $1,472,942.58
Capital DAC                                   supplement rent
Garden International      Tony.romano@nac.
Offices                   dk
Henry Street              416-276-8308
Limerick IE V94
4D83, IE




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                  Case 24-23623-PDR                    Doc 5         Filed 12/30/24                Page 3 of 3



Debtor     Silver Airways LLC                                                                       Case number (if known)         24-23623
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                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Sabena Technics      Aurelie Mouchoux               trade debts                                                                                               $833,709.84
DNR
Aeroport de          aurelie.mouchoux
Dinard-Pleurtuit-Sai @sabenatechnics.c
nt Malo              om
B.P 90154 - 35801    +33 2 99 82 99 23
Dinard cedex
FR
StandardAero         Darren Smith                   trade debts                                                                                             $1,341,648.57
Atlantic Inc.
Hangar 8, 800        Darren.smith@stan
Aerospace Blvd       daero.com
Summerside PE        +1.902.888.4733
COB 2AO
Canada
Truenoord            Garry Topp                     lease and                                                                                               $1,509,200.61
No 1 Grants Row                                     supplement rent
Lower Mount Street gtopp@truenoord.c
Dublin 2 D02 HX96, om
IE                   +44 203-868-5036
U.S. Customs and                                    taxes or fees                                                                                             $336,807.10
Border Protection
Revenue Division     317-715-9407
Attn: User Fee Team
6650 Telcom Drive,
Suite 100
Indianapolis, IN
46278
Virgin Islands Port  Carlton Dowe                   airport rent and                                                                                          $644,971.18
Authority - Silver                                  usage fees
Cyril E. King        cdowe@viport.com
Building
P.O. Box 301707
St Thomas, VI 00802
World Fuel Services, Jonathan Leak                  fuel                                                                                                      $279,343.71
Inc.
9800 NW 41st Street jleak@wfscorp.co
Suite #400           m
Miami, FL 33178      770-330-2134




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
